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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

STACY DEEMAR,

Plaintiff,
Vv. Case No. 1:21-cv-3466
BOARD OF EDUCATION OF THE CITY Judge Robert M. Dow, Jr.
OF EVANSTON/SKOKIE (“DISTRICT
65”), et al.,

Defendants.

 

DECLARATION OF STACY BEARDSLEY IN SUPPORT OF DEFENDANTS’ MOTION
TO DISMISS

I, Stacy Beardsley, declare as follows:

i. I am the Assistant Superintendent of Curriculum and Instruction at
Evanston/Skokie School District 65. I have held this position since Depew

2, As part of my job responsibilities, I oversee the development and implementation
of the curriculum at the District. I have been directly involved with the equity work of the
District, including the development of the Black Lives Matter curriculum week. I have also
worked with others at the District to develop and implement training for educators regarding this
equity work.

3. I am familiar with the Plaintiff, Stacy Deemar, bécause she is a teacher within the
District and I oversee the implementation of the instructional program by all of the District’s

educators.

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4. As part of its equity training, District provided a two-day seminar to staff called
“Beyond Diversity” that used materials from the book Courageous Conversations. During the
2018-2019 school year, the District also hosted voluntary racial “affinity groups.” The affinity
group sessions were not part of the two-day mandatory Beyond Diversity training that all staff
received. The District maintained sign-in sheets for all participants in the affinity groups that
were conducted with staff and Deemar has no record that Deemar ever attended an affinity group
meeting.

5. Courageous Conversations includes learning tools that can be used by educators
both in professional learning with other educators and with students. A central ‘Dl used at the
District is a compass which is used as a guide for participants to determine their “thinking,
acting, feeling, believing” on a topic, race or otherwise. The tool is used as a check in for each
participant, to reflect on what they are bringing to the topic. Deemar has not been required to use
these materials or participate in any “Courageous Conversation” apart from the initial two day
Beyond Diversity training.

6, Another component of staff training as been the implementation of a seminar
series, entitled Seeking Educational Equity and Diversity (‘SEED’). The SEED seminar has
always enlirely voluntary and according to District records, Deemar never attended any SEED
sessions.

7. Many principals within the District use staff meetings to provide additional
professional development. Adrian Harries, former principal of Nichols Middle School, discussed
issues of equity during his staff meetings. In the 2017-18 school year, Mr. Harries used an
affinity group format as part of some of his meetings. Deemar, however, did not typically attend

these staff meetings because of her part time status.

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8. During the 2019-20 school year, administrators read the book “White Fragility”
by Robin DiAngelo and invited teachers to take part in a monthly book study. The District
planned an event for Ms. DiAngelo to come and speak at the District. Reading the book,
participating in the book study and coming to the event were voluntary. The District ultimately
had to cancel the event due to the pandemic. The District advised staff that a pre-recording
speech by Ms. DiAngelo would be provided by a local non-profit and they could view that if
they chose. Deemar, was not required to read the book, did not participate in these voluntary
book study groups, and Robin DiAngelo never spoke at the District.

9, The District has used voluntary affinity groups for students during the 2018-19,
2019-2020, 2020-2021 school years. The District has no record that Deemar participated in or
played any role in facilitating these “affinity groups.”

10... The Black Lives Matter Week Curriculum was developed by the District in
consultation with the Board, administration, educators, parents, students and community
members and fulfills instructional requirements under the Illinois School Code. Deemar was not
required to read the book, Not My Idea, to students and, indeed, this book was not taught at
Nichols Middle School at all.

11. Additionally, the District has no record that the Children’s March history lesson
was ever taught at the middle schoo] level, nor was intersectionalily lesson taught during the
2019-2020 school year.

12. No federal funds received by the District are used to fund Deemar’s position and

the District receives no federal funding that is any way related to Decmar’s position.

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

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Executed on August 30, 2021 in Evanston, IL.

 
    

Stacy Beardsle

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